                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
FREDERICK WAYNE YOUNG, SR.,

              Plaintiff,
      v.                                          Case No. 18-cv-967-pp

BRANDON HUTCHINS,

            Defendant.
______________________________________________________________________________

 ORDER DISMISSING CASE FOR PLAINTIFF’S FAILURE TO RESPOND TO
                    DEFENDANT’S MOTION TO COMPEL
______________________________________________________________________________

      On June 26, 2018, plaintiff Frederick Wayne Young, Sr., then in custody

at the Milwaukee County House of Correction and representing himself, filed a

complaint under 42 U.S.C. §1983 alleging violations of his First and Eighth

Amendment rights. Dkt. No. 1. The case was assigned to Magistrate Judge

William E. Duffin. The plaintiff listed his address as the Milwaukee House of

Correction at 8885 S. 68th Street, Franklin, WI 53132. Id. at 1, 7. The plaintiff

also listed that address in his request to proceed without prepaying the filing

fee. Dkt. No. 2 at 1. Because both sides had not yet had the opportunity to

consent to Judge Duffin’s authority to issue a final order in the case, this court

screened the complaint, and on February 5, 2020, issued an order dismissing

some defendants, allowing the plaintiff to proceed on claims against the

current defendant, ordering service on the defendant and returning the case to

Magistrate Judge Duffin. Dkt. No. 7.




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      On March 5, 2020, defense counsel filed his notice of appearance, notice

of acceptance of service and a magistrate judge consent form. Dkt. Nos. 8–10.

The certificate of service for those documents stated that the defendant sent

the documents to the plaintiff by U.S. Mail “to the address on record with the

Court,” but listed an address 3329 N. 26th Street, Milwaukee, WI 53206. Dkt.

No. 11. The defendant also sent his answer to that address. Dkt. No. 12-1. That

is not the address the plaintiff listed on the complaint or in his motion for leave

to proceed without prepaying the filing fee. The court does not know why the

clerk’s office listed that address on the docket.

      On March 6, 2020, the case was reassigned to this court and the court

referred the case to Judge Duffin for pretrial matters. Dkt. No. 13. Judge Duffin

issued a scheduling order requiring the parties to complete discovery by

August 6, 2020, dkt. no. 14, but later granted the defendant’s motion to extend

that deadline to September 20, 2020, dkt. no. 16. The defendant’s certificate of

service for the motion for the extension of time stated that the defendant sent it

by mail “to the address on record with the Court,” but this time listed an

address of 949 N. 9th Street, Milwaukee, WI 53233 (the address of the

Milwaukee County Jail) and gave a booking number of 2020007592. Dkt.

No. 15-1. That address was not listed in any of the plaintiff’s pleadings or on

the docket.

      On October 15, 2020, the defendant moved to compel the plaintiff to

respond to the defendant’s written discovery requests and to participate in his

video deposition or, in the alternative, to dismiss the case for failure to


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prosecute. Dkt. No. 17. The defendant submitted a brief in support of the

motion, in which he explained that on September 16, 2020, while incarcerated

at the Milwaukee County Jail, the plaintiff appeared for the video deposition.

Id. at 3. During the deposition, the plaintiff stated that he believed he might

need an attorney. Id. at 3–4. The plaintiff stated that he had little recollection of

the events underlying the complaint because they occurred over two years ago

and he had no paperwork with which to refresh his recollection. Id. at 4. The

plaintiff eventually refused to answer questions or provide responses to the

defendant’s requests for discovery, which the defendant says he had sent

months earlier. Id. at 2–4. The certificate of service for the motion to compel

and its supporting documents states that the defendant sent it by mail “to the

address on record with the Court,” which again the defendant listed as 949 N.

9th Street, Milwaukee, WI 53233—the Milwaukee County Jail. Dkt. No. 20.

      On October 16, 2020, Judge Duffin entered a text-only order requiring

the plaintiff to respond to the defendant’s motion by November 5, 2020. Dkt.

No. 21. Judge Duffin warned the plaintiff that if he failed to respond or explain

why he could not do so by November 5, 2020, the court could dismiss the case

under Civil Local Rule 41 for the plaintiff’s failure to diligently prosecute it. Id.

Judge Duffin stayed the deadlines for completing discovery and filing

dispositive motions pending resolution of the defendant’s motion. Id. The

docket indicates that the text-only order was sent “by other means” to the

plaintiff at 3329 N. 26th Street, Milwaukee, WI 53206.




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      The November 5, 2020 deadline to respond to the defendant’s motion

passed, and the plaintiff had not responded. In fact, as of November 23, 2020,

the court had heard nothing from the plaintiff since July 5, 2018, when it

received his magistrate judge consent form. Dkt. No. 6.

      Because the plaintiff had not kept the court up to date as to his address,

the court did not know whether the plaintiff had received some of the

documents from this case—particularly Judge Duffin’s October 16, 2020 order.

As noted, the June 2018 complaint indicated that the plaintiff was in custody

at the Milwaukee County House of Correction. In November 2020, the court

checked the inmate locator web site for the Milwaukee County Sheriff’s

Department—the plaintiff was not at the House of Correction or the County Jail

as of November 23, 2020. http://www.inmatesearch.mkesheriff.org/. The

Wisconsin Department of Corrections inmate locator web site showed at that

time that a Frederick W. Young, D.O.C. identification number 00659468, was

at the Jail or House of Corrections until September 21, 2020 (five days after the

defendant states that the plaintiff appeared for the video deposition), when he

was transferred to Dodge Correctional Institution. See https://appsdoc.wi.gov/

lop/home.do. The same day, that Frederick W. Young was transferred to the

Milwaukee Secure Detention Facility. He remained there until October 7, 2020,

when he was sent back to Dodge Correctional Institution. Id. He remained at

Dodge until December 30, 2020, when he was transferred to Oshkosh

Correctional Institution. Id. The plaintiff has not informed the court of any of

these address changes.


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      On November 23, 2020, the court denied without prejudice the

defendant’s alternative motion to dismiss and asked the Clerk of Court to

update the plaintiff’s address to Dodge Correctional Institution; it sent the

defendant’s motion to compel, dkt. no. 17, the defendant’s brief in support,

dkt. no. 18, and the defendant’s declaration in support, dkt. no. 19, to the

plaintiff at Dodge Correctional Institution along with its order. The court

required the plaintiff to respond to the defendant’s motion in time for the court

to receive his response by January 8, 2021 and warned him that if he did not

respond by the deadline, the court would dismiss the case for failure to

prosecute. See Civil L. R. 41(c) (“Whenever it appears to the Court that the

plaintiff is not diligently prosecuting the action . . . the Court may enter an

order of dismissal with or without prejudice.”).

      It is now January 11, 2021, and the court has heard nothing from the

plaintiff. While it appears that he was transferred from Dodge to Oshkosh

Correctional Institution on December 30, 2020, that was thirty-seven days

after the court issued its November 23, 2020 order and nine days before the

deadline for him to respond to the motion to compel. At this point, the court

still has not heard anything from the plaintiff since July 5, 2018.

      The court ORDERS that the Clerk of Court will change the defendant’s

address on the docket to reflect that he now is incarcerated at the Oshkosh

Correctional Center.

      The court ORDERS that this case is DISMISSED for the plaintiff’s failure

to prosecute it. See Civil L.R. 41.


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      This order and the judgment to follow are final. A dissatisfied party may

appeal this court’s decision to the Court of Appeals for the Seventh Circuit by

filing in this court a notice of appeal within 30 days of the entry of judgment.

See Fed. R. of App. P. 3, 4. This court may extend this deadline if a party timely

requests an extension and shows good cause or excusable neglect for not being

able to meet the 30-day deadline. See Fed. R. App. P. 4(a)(5)(A).

      Under limited circumstances, a party may ask this court to alter or

amend its judgment under Federal Rule of Civil Procedure 59(e) or ask for relief

from judgment under Federal Rule of Civil Procedure 60(b). Any motion under

Federal Rule of Civil Procedure 59(e) must be filed within 28 days of the entry

of judgment. The court cannot extend this deadline. See Fed. R. Civ P. 6(b)(2).

Any motion under Federal Rule of Civil Procedure 60(b) must be filed within a

reasonable time, generally no more than one year after the entry of the

judgment. The court cannot extend this deadline. See Fed. R. Civ. P. 6(b)(2).

      The court expects parties to closely review all applicable rules and

determine, what, if any, further action is appropriate in a case.

      Dated in Milwaukee, Wisconsin this 11th day of January, 2021.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      Chief United States District Judge




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